Case 2:03-cr-20417-SH|\/| Document 103 Filed 04/21/05 Page 1 of 2 Page|D 125

IN THE UNITED STATES DISTRICT COURT :`Z~- z
FOR THE WESTERN DISTRICT OF TEN'NESSEE 35 ¢L!;R ?;_
WESTERN DIVISION ‘ .-»=1 . w

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UNITED STATES OF AMERICA,
Plaintiff,

cR. No. 03-20417-02-Ma

V'S.

CHRI STO PHER MARSHALL ,

-/-.¢-._¢-._r~._r~._¢~._r-._,-._/

Defendant.

 

ORDER ON CONTIN'UANCE AND SPECIF`Y'ING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on March 25, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial date to
the rotation docket beginning May 2, 2005 at 9:30 a.m., Witb a
report date of Thursday, April 21, 2005 at 2:00 p.m.

The period fron1 March. 25, 2005 through. May 13, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

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IT IS SO ORDERED this day Of April, 2005.

JA/

SAMUEL H. MAYS, JR.
UNI"I‘ED STA'I'ES DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 103 in
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Honorable Samuel Mays
US DISTRICT COURT

